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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA                           §
     ex rel. Donna Mendez & Selina Rushing,        §
     and Selina Rushing, Individually;             §
                                                   §
STATE OF TEXAS ex rel.                             §
Donna Mendez & Selina Rushing,                     §
                                                   §                NO. 4:l l-CV-02565
       Plaintiffs,                                 §
                                                   §
v.                                                 §
                                                   §
Doctors Hospital at Renaissance, Ltd., et al.,     §
                                                   §
       Defendants.                                 §


                        NOTICE OF WITHDRAWAL OF COUNSEL


       Rebecca L. Gibson previously of the law firm Berg & Androphy, hereby provides notice

to the Court and Counsel that she withdrawing her appearance as counsel for Plaintiff/Relators

Donna Mendez and· Selina Rushing. Ms. Gibson is no longer a practicing attorney with the law

firm of Berg & Androphy. Joel M. Androphy of Berg & Androphy and Anthony G. Buzbee of

The Buzbee Law Firm continue as attorneys-of-record and Ms. Gibson's withdrawal has no

bearing on that continued representation.

                                                 Respectfully submitted,


                                                 ~Gibson
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NOTICE OF WITHDRAW AL OF COUNSEL                                                         PAGE I
